  
  
 

Filed 06/26/06 Page 1 of 4 Page|D #: 3

JOHN HARRIS PABR #1551-0

42 B Kepola Place

Honolulu, Hawaii 96817
Telephone: (898) SSS-VETQ
Facsimile: {BOB) 595-3918
email: paerjOQl@haWaii.rr.oom

 

Attorney for Ylaintiff
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAIZ

 

CIVIL NO.

§§E§s §§ &?§§

JOSLIENE STRAPPLE,

 

 

}
}
Plaintiff, } COMPLAINT; EXHIBIT “A”;
} SUMMONS
vs. }
)
NATIONWIDE RECOVERY SYSTEMS, }
LTD., }
)
Defendant. }
}
}
CGMPLAINT

COMES NOW Plaintiff, by and through. her undersigned

attorney and alleges as follows:
l§I§QD§§I§QH

l. This Com§laint is filed and these proceedings are
instituted under the "Fair Debt Colleetion Practices Act" 15 U.S.C.
Section 1692, et seg., to recover actual and statutory damages,
reasonable attorney*s fees and eosts of suit by reason of the
Defendant's violations of that Act. Plaintiff seeks actual and
statutory damages arising out of Defendant's misrepresentations and
failure to make required disclosures in. the collection. of an

alleged debt.

 

Case 1:06-CV-00347-HG-BI\/|K Document 1 Filed 06/26/06 Page 2 of 4 Page|D #: 4

JURISDICTEON
2. The jurisdiction.of this Court is invoked pursuant to
15 U.S.C.A. Section 1692k(d} and 28 U.S.C.A. Section 1337. Whe
supplemental jurisdiction of this Court is invoked over Count IZ of
the Complaist, which arises under Chapters 443B and 480 of the

Hawaii Revised Statotes.

PARTIES
3. Plaintiff is a natural person and is a resident of
the State of Hawaii.
4. Defendant is a corporation doing business ia the

State of Hawaii as a collection agency and debt coilector, and is
subject to the jurisdiction of this Court.
_EAQ.T.‘.§.

§. Within the year prior to the filing of this action,
Defendant has been attempting on behal§ of a third.party to collect
an alleged debt from Plaintiff,

6. On or about April 21, 2006, De§endant sent its first
collection letter to Plaintiff. A true and correct copy of that
letter is attached hereto as Exhibits ”A".

?. The underlying debt Was incarred. primarily' for
personal, famiiy, or household purposes.

8, Within a week of Plaintiff's receipt of the above
letter, Defeadant called Plaintiff at her place of employment.

9. Piaintiff informed.Defendant that she had.an attorney

and would refer the matter to him and Plaihtiff also disputed and

 

Case 1:06-CV-00347-HG-BI\/|K Document 1 Filed 06/26/06 Page 3 of 4 Page|D #: 5

requested verification‘ of the debt during that cosversatioh.
Fihally, Plaintiff told Defehdant that she could not discuss this

matter further at work.

lG. Defendant then threatened to sue Plaihtiff and “take

her to court” if she did not pay.

COUNT I
ll. Plaintiff realleges and incorporates paragraphs l
through 10 of this Compiaint.
12. Defendant has violated the Fair Debt Collection

Practices Act in the followiag ways:

(a) Defehdant has used false, deceptive and
misleading misrepresentations in connection with the collection of
the above claim in violation of 25 U.S.C. §1692e.

(b) Defehdant has used unfair means to collect and
to attempt to collect the above claim in violation of 15 U.S.C.
§lESZf.

(C) Defendant has not seat to Plaintiff the proper
notices and/or verificatiohs required by the Act is violation of 15
u.s.c. §1592g.

(d) Defendant has violated 15 U.S.C. §1692c.

COUNT ll
13. Plaihtiff realleges and incorporates paragraphs 1
through 12 of this Complaint.
14. Defeadant has violated Chapter 443B and 480 of the

Hawaii Revised Statutes as alleged above.

 

Case 1:06-CV-00347-HG-BI\/|K Document 1 Filed 06/26/06 Page 4 of 4 Page|D #: 6

iB. Defendant’s violations of the Fair Debt Collection
Practices Act and/or H.R.S. Chapter 443B constitute unfair and
deceptive acts or practices in violation of H.R.S. Chapter 480.

16. Defendant‘s contacts, demands and disclosures in
connection With the above-described collection Were immoral,'
nnethical, oppressive, unscrupulous, and substantially'injurious to
Plaintiff as a consumer, and were unfair and deceptive, in
violation of H,R.S. Chapter 489. The acts and representations of
Defendant described herein had the capacity of deceive Plaintiff.

17. Plaintiff has suffered injury to her property in an
amount to be proved at trial, by reason of Defendant's violations.

WHEREFORE, Plaintiff prays that the Court:

AS TO COUNT I

1. Award Plaintiff her actual damages as will be proved.

2. Award Plainti§f statutory damages of $1000.00.

AS TO COUNT ll

3. Award Plaintiff damages in the amount of three times
the injury to her property, but not less than $1000.00.

AS TO ALL COUNTS

4. .Award Plaintiff reasonable attorneys‘ fees and costs.

5. Award Plaintiff further appropriate relief.

ll .. v _ r'_!e’
DATED: Honolulu, Hawaii, ‘ sr §§W §YYY&

 

=‘>
/.`;,
z

ca5 'fs .
§rf&ea asset sea

‘ ,=.
W

£`
§§ §§

los

§

 

JOHN HARRIS PABR
Attorney for Plaintiff

 

